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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                       :    CRIMINAL NO. 22-cr-15-APM
                                                :
                      v.                        :
                                                :
 ELMER STEWART RHODES III,                      :
                                                :
 KELLY MEGGS,                                   :
                                                :
 KENNETH HARRELSON,                             :
                                                :
 JESSICA WATKINS,                               :
                                                :
 JOSHUA JAMES,                                  :
                                                :
 ROBERTO MINUTA,                                :
                                                :
 JOSEPH HACKETT,                                :
                                                :
 DAVID MOERSCHEL,                               :
                                                :
 BRIAN ULRICH,                                  :
                                                :
 THOMAS CALDWELL, and                           :
                                                :
 EDWARD VALLEJO,                                :
                                                :
                    Defendants.                 :

                                   [PROPOSED] ORDER

       On the motion of the government, the Court hereby ADOPTS the record in case 21-cr-28-

APM through January 12, 2022, as the record in the instant case.



Date: January ___, 2022                             ___________________________________
                                                    AMIT P. MEHTA
                                                    UNITED STATES DISTRICT JUDGE



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